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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ALASKA

DEVELOPERS SURETY AND INDEMNITY
COMPANY,

                        Plaintiff,
vs.

LEE E. BAKER, JR. and
DISCOVERY CONSTRUCTION, INC.

                        Defendants.                Case No. 3:16-cv__________

                                       INDEMNITY COMPLAINT

        COMES NOW Plaintiff, Developers Surety and Indemnity Company (“Developers”), by

 counsel, Law Offices of Charles G. Evans, and for its indemnity complaint against Defendants,

 Lee E. Baker (“Baker”) and Discovery Construction, Inc., (“Discovery”) states and alleges as

 follows:

                                        GENERAL ALLEGATIONS

 1.     Developers wrote surety bonds for construction work performed by Discovery in the State of

 Alaska.

 2.     Developers issued a Performance/Warranty Guarantee Bond, (“the Bond”) naming

 Discovery as the Principal and the Municipality of Anchorage (“MOA”) as the Obligee. A copy

 of the Bond is attached as Exhibit A.


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 3.    The Bond was procured to secure the faithful and complete performance by Discovery to the

 MOA of Subdivision Agreement No 02-007.

 4.    In exchange for the issuance of the Bond and other bonds, Baker and Discovery executed a

 General Agreement of Indemnity, (“the GAI”) a copy of which is attached as Exhibit B.

 5.    On or about January 29, 2013, Baker pled guilty to 12 counts of making “False Statements

 to Influence a Financial Institution,” a violation of 18 U.S.C. §1014, with respect to a different

 construction project performed by Discovery.

 6.    On or about May 6, 2013, the MOA served Discovery with a notice that deficiencies existed

 with respect to Subdivision Agreement No 02-007. The May 6, 2013 letter is attached as Exhibit

 C.

 7.    Among other problems, the MOA noted that the subdivision did not have a functioning

 drainage system and that the lack of drainage system caused regular and adverse impacts to the

 surrounding areas.

 8.    The May 6, 2013 notice further advised that Discovery had 30 days from the date of the

 letter to submit a plan to address the drainage problems.

 9.    The letter from the MOA was signed by Lee Baker, Sr, on or about May 13, 2016.

10.    By June 14, 2013, neither Baker nor Discovery responded to the MOA’s May 6, 2013

 demand.

11.    By letter dated June 14, 2013, the MOA notified Developers that Discovery was in default

 and made demand on the Bond in its full penal sum, $213,340.80. A copy of the June 14, 2013

 letter is attached as Exhibit D.

12.    On or about March 27, 2015, Developers settled and adjusted the MOA’s claim and paid the

 MOA $150,000.00 in exchange for a complete Release and Assignment of rights by the MOA to

 Developers.
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13. By letter dated February 22, 2016, Developers demanded that Baker and Discovery

indemnify and hold Developers harmless for Developers’ losses in the form of paid claims, bond

premiums, and its actual and reasonable costs and attorneys’ fees.

14. Neither Baker nor Discovery replied to the February 22, 2016 letter.

                                       JURISDICTION AND VENUE

15. Developers reincorporates allegations 1 through 14 as though contained herein.

16. Developers is a surety corporation, organized and incorporated under the laws of the State of

Iowa.

17. Developers’ primary place of business is in the State of California.

18. Developers maintains no offices in the State of Alaska.

19. Upon information and belief, Lee E. Baker (“Baker”) is a resident of the State of Alaska or,

in the alternative, the State of Texas.

20. Discovery Construction, Inc. (“Discovery”) is an Alaska Corporation, with its primary place

of business in the State of Alaska.

21. The amounts due and owing Developers by Baker and Discovery exceed $75,000.00,

exclusive of interest and costs.

22. This action arises under, and this Court has jurisdiction pursuant to, 28 USCA §1332.

23. Venue is proper as the work for which Developers bonded Discovery occurred in the

Municipality of Anchorage, State of Alaska.

              COUNT I. BREACH OF INDEMNITY CONTRACT; FAILURE TO INDEMNIFY
                                  AND HOLD HARMLESS

24. Developers reincorporates it allegations 1 through 23 as though contained herein.

25. Baker and Discovery agreed to indemnify and hold harmless Developers from and against

any and all liability, loss, claims, demands, costs, damages, attorneys’ fees and expenses of

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whatever kind and nature, together with interest thereon at the maximum rate allowed by law,

which Surety may sustain or incur by reason of or in consequence of the execution by Surety of

any of any Bond.

26. Baker and Discovery failed to indemnify Developers and hold it harmless from the claims of

the MOA.

27. Baker and Discovery agreed to indemnify Developers with respect to liability incurred or

amounts paid in satisfaction or settlement of any or all claims relating to [Discovery’s]

nonperformance of an Obligation or any other matter covered by a Bond.

28. Baker and Discovery failed to indemnify Developers with respect to the $150,000.00

Developers incurred in settling with the MOA.

29. Baker and Discovery agreed to indemnify Developers with respect to liability incurred or

expenses paid in connection with claims relating to a bonded obligation, including without

limitation, attorneys’ fees and all legal expenses related to the adjustment of claims or expenses.

30. Baker and Discovery failed to indemnify Developers or any amounts of Developers’ actual

costs and attorneys’ fees due to the MOA’s claim on the Bond, in an amount not less than

$39,304.15.

31. Baker and Discovery are liable for all costs and attorneys’ fees incurred by Developers,

including, but not limited to, those costs and fees incurred in this lawsuit to enforce the terms of

the GAI.

32. Developers has incurred damages as a direct and proximate result of Baker and Discovery’s

failure to pay the losses, costs, and attorneys’ fees of Developers, in an amount not less than

$189,304.15, the exact amount to be proven at trial.




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            COUNT II. BREACH OF INDEMNITY CONTRACT; FAILURE TO PAY BOND
                                     PREMIUMS

33. Developers reincorporates allegations 1 through 33 as though contained herein.

34. Baker and Discovery agreed to pay to Developers, an initial premium for any bond, and

further, to pay all renewals, extensions and premium adjustments for any bond issued by

Developers.

35. Beginning on February 21, 2007 and continuing through February 21, 2016, Baker and

Discovery failed to pay at least 32 separate bond or renewal premiums.

36. Each failure to pay bond premiums or renewals is a distinct and continuing breach of the

GAI.

37. Developers has incurred damages as a direct and proximate result of Baker and Discovery’s

failure to pay bond and renewal premiums in an amount not less than $37,936.00, the exact

 amount to be proven at trial. Copies of the invoices are attached as Exhibit E.

      WHEREFORE, Developers requests the Court to enter judgment:

1.    Against Defendants, Lee E. Baker and Discovery Construction, Inc., jointly and severally, in

a principal amount not less than $227,240.00 plus costs, interest, and actual attorney fees pursuant

the indemnity agreement, the exact amount to be proven at trial.

2.    For such further relief as the Court deems just and equitable.

      Dated this 9th day of May, 2016.


                               LAW OFFICES OF CHARLES G. EVANS
                               Attorneys for Developers Surety and indemnity Company


                               By: /s/ Corey G. Stewart__________
                               Charles G. Evans, ABA No. 7705019
                               Corey Stewart, ABA No. 1202003


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